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  Attorney for Plaintiffs:
  Fallen Productions, Inc.;
  HB Production, Inc.;
  Rambo V Productions, Inc.; and
  Definition Delaware, LLC.

                         UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

   Fallen Productions, Inc., HB             )   Case No.: 1:20-cv-33-JAO-RT
   Productions, Inc., Rambo V               )   (Copyright)
   Productions, Inc., and Definition        )
   Delaware, LLC,                           )   FIRST AMENDED COMPLAINT;
                                            )   EXHIBITS 1-3; DECLARATION
                      Plaintiffs,           )   OF DANIEL ARHEIDT
       vs.                                  )
                                            )   (1) CONTRIBUTORY
   DOES 1-30,                               )       COPYRIGHT
                                            )       INFRINGEMENT
                      Defendants.           )   (2) DIRECT COPYRIGHT
                                            )       INFRINGEMENT
                                            )

                           FIRST AMENDED COMPLAINT

            Plaintiffs Fallen Productions, Inc., HB Productions, Inc., Rambo V

  Productions, Inc., and Definition Delaware, LLC (collectively: “Plaintiffs”) file this

  First Amended Complaint against Defendants DOES 1-30 (“Defendants”) and allege



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  as follows:

                               I.     NATURE OF THE ACTION

           1.        This matter arises under the United States Copyright Act of 1976, as

  amended, 17 U.S.C. §§ 101, et seq. (the “Copyright Act”).

           2.        The Plaintiffs allege that Defendants are liable for: (1) direct copyright

  infringement in violation of 17 U.S.C. §§ 106 and 501; and (2) contributory

  copyright infringement.

                              II.    JURISDICTION AND VENUE

           3.        This Court has subject matter jurisdiction over this action pursuant to

  17 U.S.C. §§ 101, et. seq., (the Copyright Act), 28 U.S.C. § 1331 (federal question)

  and 28 U.S.C. § 1338 (patents, copyrights, trademarks, and unfair competition).

           4.        Defendants either reside in, solicit, transact, or are doing business

  within this jurisdiction, and have committed unlawful and tortious acts both within

  and outside this jurisdiction with the full knowledge that their acts would cause

  injury in this jurisdiction. As such, Defendants have sufficient contacts with this

  judicial district to permit the Court’s exercise of personal jurisdiction over them.

           5.        Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) - (c)

  because: (a) all or a substantial part of the events or omissions giving rise to the

  claims occurred in this District; and, (b) the Defendants reside, and therefore can be

  found, in this State. Additionally, venue is proper in this District pursuant 28 U.S.C.

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  § 1400(a) (venue for copyright cases), because the Defendants or Defendants’ agents

  resides or may be found in this District.

                                        III.   PARTIES

                                       A. The Plaintiffs
           6.        The Plaintiffs are owners of the copyrights for the motion pictures

  (hereafter: “Works”), respectively, as shown in Exhibit “1”.

           7.        Plaintiffs Fallen Productions, Inc., HB Productions Inc. and Rambo V

  Productions, Inc. are corporations organized and existing under the laws of the State

  of Nevada, have principal offices in Los Angeles, California and are affiliates of

  Millennium Media, a production company and distributor of a notable catalog of

  major motion pictures.

           8.        Plaintiff Definition Delaware, LLC is a limited liability company

  registered under the laws of the State of Nevada, has principal offices in Los

  Angeles, California and is an affiliate of Voltage Pictures, a production company

  with a notable catalog of major award-winning motion pictures.

                                         B. The Defendants

           9.        The Defendants DOES 1-30 are members of a group of BitTorrent

  users or peers whose computers are collectively interconnected for the sharing of a

  particular unique file, otherwise known as a “swarm”.            The particular file a

  BitTorrent swarm is associated with has a unique “hash” number, which in this case

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  for                Angel       Has         Fallen         is:        SHA1:          SHA1:

  1B07CBAC8CDB508B08F483641B6D784A7756F8F4                          (the    “Unique    Hash

  Number”).            The file name is “Angel Has Fallen (2019) [WEBRip] [1080p]

  [YTS.LT]”. Exhibit “2”.

           10.        Upon information and believe, Each of the Defendants received from

  Plaintiffs’ agent at least a first notice per 17 U.S.C. 512(a) of the Digital Millennium

  Copyright Act (“DMCA notice”) requesting the individual to stop infringement of

  the Work or other Works via BitTorrent protocol.

           11.        The Internet Service Provider (“ISP”) provides the Internet service for

  Defendants. Plaintiffs subpoenaed the ISP in order to learn the subscriber identities

  of Defendants DOES 1-30.                Further discovery may be necessary in some

  circumstances in order to be certain of the identity of the proper Defendant.

  Plaintiffs believe that information obtained in discovery will lead to the

  identification of each Defendants’ true names and permit the Plaintiffs to amend

  this First Amended Complaint to state the same. Plaintiffs further believe that the

  information obtained in discovery may lead to the identification of additional

  infringing parties to be added to this First Amended Complaint as Defendants.

  Plaintiffs will amend this First Amended Complaint to include the proper names

  and capacities when they have been determined. Plaintiffs are informed and

  believe, and based thereon allege, that each of the fictitiously named Defendants

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  participated in and are responsible for the acts described in this First Amended

  Complaint and damages resulting therefrom.

           12.       Defendant at Internet Protocol (“IP”) address 72.130.106.50 (“Doe 1”)

  registered for an account with a website referred to as YTS (“YTS website”) using

  the email address “angelswarcry@gmail.com” (“gmail address”).

           13.       The YTS website is currently accessible at YTS.LT and was previously

  accessible at YTS.AM and YTS.AG.

           14.       The YTS website is known for distributing torrent files of copyright

  protected motion pictures.




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           15.




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           16.
           17.       Defendant Doe 1 used the YTS account to download a torrent file

  associated with the motion picture Rambo V Last Blood on Nov. 30, 2019 at

  01:29:50 UTC.

           18.       Upon information and belief, Defendant at IP address 72.130.106.50

  used the YTS account to download torrent files associated with the motion pictures

  Hellboy and The Professor And The Madman.

           19.       Defendant at IP address 72.130.106.50 downloaded the file “Hellboy

  (2019) [WEBRip] [1080p] [YTS.LT]” on 7/11/2019 at 12:54:24 AM UTC.

           20.       Defendant at IP address 72.130.106.50 downloaded the file “The

  Professor And The Madman (2019) [WEBRip] [1080p] [YTS.AM]” on 6/13/2019

  3:13:39 AM UTC.



                                       IV.    JOINDER
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           21.       Pursuant to Fed. R. Civ. P. 20(a)(1), each of the Plaintiffs are properly

  joined because, as set forth in detail above and below, the Plaintiffs assert: (a) a right

  to relief arising out of the same transaction, occurrence, or series or transactions,

  namely the use of the YTS website by Defendants for copying and distributing

  Plaintiffs’ Works; and (b) that there are common questions of law and fact.

           22.       Pursuant to Fed. R. Civ. P. 20(a)(2), each of the Defendants was

  properly joined because, as set forth in more detail below, the Plaintiff Fallen

  Productions, Inc. asserts that the infringements of its Work complained of herein by

  each of the Defendants was accomplished by the Defendants using the same YTS

  website; and there are common questions of law and fact.

                               V.     FACTUAL BACKGROUND
           A. The Plaintiffs Own the Copyrights to the Works

           23.       The Plaintiffs are the owners of the copyright in the Works,

  respectively. The Works are the subjects of copyright registrations, and this action

  is brought pursuant to 17 U.S.C. § 411. See Exhibit “1”.

           24.       Each of the Works are motion pictures currently offered for sale in

  commerce.

           25.       Defendants had notice of Plaintiffs’ rights through at least the credits

  indicated in the content of the motion pictures which bore proper copyright notices.

           26.       Defendants also had notice of Plaintiffs’ rights through general
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  publication and advertising associated with the motion pictures, and packaging and

  copies, each of which bore a proper copyright notice.

           27.       The Works are motion pictures currently offered for sale in commerce.

           28.       For example, a Blu-ray copy of the Work Hellboy was recently

  available for sale at a retailer in Kailua Kona, Hawaii for $15.95.




           29.       For example, a Blu-ray copy of the Work Angel Has Fallen was

  recently available for sale at a retailer in Kailua Kona, Hawaii for $22.19.




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           30.       The YTS website provides torrent files, many including the name

  “YTS” in their file names, that can be used by a BitTorrent protocol client

  application to download copyright protected content, including Plaintiffs’ Works.

           31.       Defendants used the YTS website to download torrent files associated

  with Plaintiff Fallen Productions, Inc.’s Works

           32.       The YTS website displays, “WARNING! Download only with

  VPN…” and further information warning users that their IP address is being tracked

  by the ISP and encouraging them to protect themselves from expensive lawsuits by

  purchasing service from a VPN on its homepage. Upon information and belief, this

  warning has appeared on the YTS website since 2018.




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           B. Defendants Used BitTorrent To Infringe the Plaintiffs’ Copyrights.

           33.       BitTorrent is one of the most common peer-to-peer file sharing

  protocols (in other words, set of computer rules) used for distributing large amounts

  of data.

           34.       The BitTorrent protocol’s popularity stems from its ability to distribute

  a large file without creating a heavy load on the source computer and network. In

  short, to reduce the load on the source computer, rather than downloading a file

  from a single source computer (one computer directly connected to another), the

  BitTorrent protocol allows users to join a "swarm" of host computers to download

  and upload from each other simultaneously (one computer connected to numerous

  computers).

           1. Defendants installed a BitTorrent Client onto his or her Computer.

           35.       A BitTorrent Client is a software program that implements the

  BitTorrent Protocol. There are numerous such software programs which can be

  directly downloaded from the Internet.

           36.       Once installed on a computer, the BitTorrent Client serves as the user’s

  interface during the process of uploading and downloading data using the BitTorrent

  protocol.

           37.       Each of Defendants installed a BitTorrent Client onto his or her


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  computer.

           2. The Initial Seed, Torrent, Hash and Tracker

           38.       A BitTorrent user that wants to upload a new file, known as an “initial

  seeder,” starts by creating a “torrent” descriptor file using, for example, the Client

  he or she installed onto his or her computer.

           39.       The Client takes the target computer file, the “initial seed,” here the

  copyrighted Work, and divides it into identically sized groups of bits known as

  “pieces.”

           40.       The Client then gives each one of the computer file’s pieces, in this

  case, pieces of the copyrighted Work, a random and unique alphanumeric identifier

  known as a “hash” and records these hash identifiers in the torrent file.

           41.       When another peer later receives a particular piece, the hash identifier

  for that piece is compared to the hash identifier recorded in the torrent file for that

  piece to test that the piece is error-free. In this way, the hash identifier works like

  an electronic fingerprint to identify the source and origin of the piece and that the

  piece is authentic and uncorrupted.

           42.       Torrent files also have an "announce" section, which specifies the URL

  (Uniform Resource Locator) of a “tracker,” and an "info" section, containing

  (suggested) names for the files, their lengths, the piece length used, and the hash

  identifier for each piece, all of which are used by Clients on peer computers to verify

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  the integrity of the data they receive.

           43.       The “tracker” is a computer or set of computers that a torrent file

  specifies and to which the torrent file provides peers with the URL address(es).

           44.       The tracker computer or computers direct a peer user’s computer to

  other peer user’s computers that have particular pieces of the file, here the

  copyrighted Work, on them and facilitates the exchange of data among the

  computers.

           45.       Depending on the BitTorrent Client, a tracker can either be a dedicated

  computer (centralized tracking) or each peer can act as a tracker (decentralized

  tracking.)

           3. Torrent Sites

           46.       “Torrent sites” are websites that index torrent files that are currently

  being made available for copying and distribution by people using the BitTorrent

  protocol. There are numerous torrent websites including the website YTS.

           47.       Defendants went to torrent sites including the website YTS to upload

  and download Plaintiffs’ copyrighted Works.

           4. The Peer Identification

           48.       The BitTorrent Client will assign an identification referred to as a Peer

  ID to the computer so that it can share content (here the copyrighted Work) with

  other peers.

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           49.       Upon information and belief, each Defendant was assigned a Peer ID

  by their BitTorrent client.

           5. Uploading and Downloading a Work Through a BitTorrent Swarm

           50.       Once the initial seeder has created a torrent and uploaded it onto one

  or more torrent sites, then other peers begin to download and upload the computer

  file to which the torrent is linked (here the copyrighted Work) using the BitTorrent

  protocol and BitTorrent Client that the peers installed on their computers.

           51.       The BitTorrent protocol causes the initial seeder’s computer to send

  different pieces of the computer file, here the copyrighted Work, to the peers

  seeking to download the computer file.

           52.       Once a peer receives a piece of the computer file, here a piece of the

  copyrighted Work, it starts transmitting that piece to the other peers.

           53.       In this way, all of the peers and seeders are working together in what

  is called a “swarm.”

           54.       Here, Defendants participated in a swarm and directly interacted and

  communicated with other members of that swarm through digital handshakes, the

  passing along of computer instructions, uploading and downloading, and by other

  types of transmissions.

           55.       In this way, and by way of example only, one initial seeder can create

  a torrent that breaks a movie up into hundreds or thousands of pieces saved in the

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  form of a computer file, like the Work here, upload the torrent onto a torrent site,

  and deliver a different piece of the copyrighted Work to each of the peers. The

  recipient peers then automatically begin delivering the piece they just received to

  the other peers in the same swarm.

           56.       Once a peer has downloaded the full file, the BitTorrent Client

  reassembles the pieces and the peer is able to view the movie. Also, once a peer has

  downloaded the full file, that peer becomes known as “an additional seed,” because

  it continues to distribute the torrent file, here the copyrighted Work.

           6. The Plaintiffs’ Computer Investigator Identified the Defendants’ IP

           Addresses as Participants in Swarms That Were Distributing Plaintiffs’

           Copyrighted Works.

           57.       The Plaintiffs retained Maverickeye UG (“MEU”) to identify the IP

  addresses that are being used by those people that are using the BitTorrent protocol

  and the Internet to reproduce, distribute, display or perform the Plaintiff’s

  copyrighted Work.

           58.       MEU used forensic software to enable the scanning of peer-to-peer

  networks for the presence of infringing transactions.

           59.       MEU extracted the resulting data emanating from the investigation,

  reviewed the evidence logs, and isolated the transactions and the IP addresses

  associated therewith for the files identified by the SHA-1 hash value of the Unique

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  Hash Number.

           60.       The IP addresses, Unique Hash Numbers, and hit dates contained in

  Exhibits 2-3 accurately reflect what is contained in the evidence logs.

           61.       The logged information in Exhibits 2-3 show that Defendants copied

  pieces of the Plaintiffs’ copyrighted Works identified by the Unique Hash Numbers.

           62.       The Defendants’ computers used the identified IP addresses in Exhibits

  2-3 to connect to the investigative server from a computer in this District in order

  to transmit a full copy, or a portion thereof, of a digital media file identified by the

  Unique Hash Number.

           63.       MEU’s agent analyzed each BitTorrent “piece” distributed by the IP

  addresses listed on Exhibits 2-3 and verified that re-assemblage of the pieces using

  a BitTorrent Client results in a fully playable digital motion picture of the Work.

           64.       MEU’s agent viewed the Works side-by-side with the digital media

  file that correlates to the Unique Hash Number and determined that they were

  identical, strikingly similar or substantially similar.

           65.       MEU’s agent logged 29,354 instances of infringing transactions in the

  United States and 135,012 infringing transactions worldwide with the Unique Hash

  Number 1B07CBAC8CDB508B08F483641B6D784A7756F8F4 shown in Exhibit

  “3” as of January 21, 2020.



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           C. Defendant Doe 1 at IP address 72.130.106.50 seeded and distributed full

           copies of the motion picture Angel Has Fallen

           66.       Defendant Doe 1 downloaded and/or uploaded torrent files of the

  Works to and/or from the YTS website from one or more computing devices under

  his control.

           67.       Defendant Doe 1 created the torrent file for the Work Angel Has Fallen

  and uploaded it to the YTS website from one or more computing devices under his

  control.

           68.       Defendant seeded copies of the Work Angel Has Fallen from

  computing devices under his control.

           69.       Defendant seeded on his computing device and made available the files

  of the Works shown in Exhibit 2 available to users in Hawaii, the United States

  29,354 instances and the entire World 135,012 instances to download and thus copy.

           70.       Defendants distributed the file of the motion picture Angel Has Fallen

  to individuals in the World, United States and specifically Hawaii as shown in

  Exhibit 3.

           71.       Upon information and belief, Defendants do not have a DMCA agent

  as required by the DMCA to assert safe harbor at the time of the infringements.


                               VI. FIRST CLAIM FOR RELIEF
                               (Direct Copyright Infringement)

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           72.        Plaintiffs re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

           73.        Plaintiffs are the copyright owners of the Works which each contains

  an original work of authorship.

           74.        Defendants copied the constituent elements of the Works.

           75.        Plaintiffs did not authorize, permit, or provide consent to Defendants

  to copy, reproduce, redistribute, perform, or display their Works.

           76.        As a result of the foregoing, Defendants violated the Plaintiffs’

  exclusive rights to reproduce the Works in copies, in violation of 17 U.S.C. §§

  106(1) and 501.

           77.        Defendants’ infringements were committed “willfully” within the

  meaning of 17 U.S.C. § 504(c)(2).

           78.        The Plaintiffs have suffered damages that were proximately caused by

  each of the Defendants’ copyright infringements including, but not limited to lost

  sales, price erosion, and a diminution of the value of its copyright.

                                  VIII. SECOND CLAIM FOR RELIEF
                     (Contributory Copyright Infringement based upon participation in
                                          the BitTorrent Swarm)

           79.        Plaintiffs re-allege and incorporate by reference the allegations

  contained in each of the foregoing paragraphs.

           80.        By participating in the BitTorrent swarms with others, Defendants

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  induced, caused or materially contributed to the infringing conduct of others.

           81.       Plaintiffs did not authorize, permit, or provide consent to the

  Defendants inducing, causing, or materially contributing to the infringing conduct

  of others.

           82.       Defendants knew or should have known that the other BitTorrent users

  in a swarm with them were directly infringing the Plaintiffs’ copyrighted Works by

  copying constituent elements of the registered Works that are original. Indeed,

  Defendants directly participated in and therefore materially contributed to others’

  infringing activities.

           83.       The Defendants’ infringements were committed “willfully” within the

  meaning of 17 U.S.C. § 504(c)(2).

           84.       By engaging in the contributory infringement alleged in this First

  Amended Complaint, the Defendants deprived not only the producers of the Works

  from income that could have been derived when the respective film was shown in

  public theaters and offered for sale or rental, but also all persons involved in the

  production and marketing of this film, numerous owners of local theaters and retail

  outlets in Hawaii and their employees, and, ultimately, the local economy. The

  Defendants’ misconduct therefore offends public policy.


                                    PRAYER FOR RELIEF

           WHEREFORE, the Plaintiffs respectfully requests that this Court:
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           (A) enter temporary, preliminary and permanent injunctions enjoining

  Defendants from continuing to directly infringe and contribute to infringement of

  the Plaintiffs’ copyrighted Works;

           (B) enter an order pursuant to 17 U.S.C. §512(j) and/or 28 U.S.C §1651(a)

  that any service provider providing service for Defendants which he used to infringe

  Plaintiffs’ Works immediately cease said service;

           (C) award the Plaintiffs HB Productions, Inc., Rambo V Productions, Inc. and

  Definition Delaware, LLC actual damages and Defendants’ profits in such amount

  as may be found; alternatively, at Plaintiffs’ election, for maximum statutory

  damages per Work pursuant to 17 U.S.C. § 504-(a) and (c);

           (D) award the Plaintiff Fallen Productions Inc. actual damages of $651,365.26

  for the infringements in the United States or $2,995,916.28 for the infringements in

  the World and Defendants’ profits in such amount as may be found; alternatively, at

  Plaintiff Fallen Productions Inc.’s election, for maximum statutory damages per

  Work pursuant to 17 U.S.C. § 504-(a) and (c);

           (E) award the Plaintiffs their reasonable attorneys’ fees and costs pursuant to

  17 U.S.C. § 505; and

           (F) grant the Plaintiffs any and all other and further relief that this Court deems

  just and proper.

           The Plaintiffs hereby demands a trial by jury on all issues properly triable by

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  jury.

           DATED: Kailua-Kona, Hawaii, May 20, 2020.


                                 CULPEPPER IP, LLLC


                                 /s/ Kerry S. Culpepper
                                 Kerry S. Culpepper

                                 Attorney for Plaintiffs




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